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16 Attorneys for Defendant
   SAFEWAY INC.
17
18                                       UNITED STATES DISTRICT COURT

19                                      NORTHERN DISTRICT OF CALIFORNIA

20                                           SAN FRANCISCO DIVISION

21
22 REBEKAH  PREWITT and LAUREN
   BARRY, individually, and on behalf of all
                                                               CASE NO.: 16-cv-02753-MMC

23 others similarly situated,                                  [Hon. Maxine M. Chesney]

                          Plaintiffs,                          STIPULATION OF DISMISSAL
24                                                             PURSUANT TO FED. R. CIV. P.
                    v.                                         41(a)(1)(A)(ii)
25
26 SAFEWAY,   INC., a California corporation;
   and DOES 1 through 50, inclusive,
27              Defendants.
28

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                             STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)
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 1                  Plaintiffs Rebekah Prewitt and Lauren Barry (“Named Plaintiffs”) and Defendant Safeway,

 2 Inc. (“Safeway”) (collectively, “the Parties”), in the action Prewitt, et al. v. Safeway, Inc., Case
 3 No. 16-cv-02753-MMC (N.D. Cal.), by and through their respective counsel of record, hereby
 4 stipulate that the above-captioned action be dismissed pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),
 5 with prejudice as to Named Plaintiffs’ individuals claims, and without prejudice as to any claims
 6 of putative class members.
 7
 8 DATED: August 18, 2016                             Respectfully submitted,

 9                                                    THE WAND LAW FIRM

10
11                                                By: /s/ Aubry Wand
                                                      AUBRY WAND
12
                                                       Counsel for Plaintiffs Rebekah Prewitt and Lauren Barry
13
14 DATED: August 18, 2016                             Respectfully submitted,
15                                                    ARNOLD & PORTER LLP
16
17                                                By: /s/ Ginamarie Caya
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                                                       Counsel for Defendant Safeway, Inc.
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                              STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)
     Case 3:16-cv-02753-MMC           Document 46            Filed 08/18/16   Page 3 of 3




 1                                           ATTESTATION

 2         In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

 3 document has been obtained from each of the other Signatories, which shall serve in lieu of their
 4 signatures on the document.
 5
 6 DATED: August 18, 2016                        THE WAND LAW FIRM

 7
 8                                               By:    /s/ Aubry Wand

 9                                               Counsel for Plaintiffs Rebekah Prewitt and Lauren
                                                 Barry
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                        STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)
